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                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES                                  )
                                               )
                                               )
                   v.                          )     No. 1:21-CR-143-ELR-CCB
                                               )
                                               )
VICTOR HILL,                                   )
                                               )
            Defendant.                         )


       SHERIFF VICTOR HILL’S PROPOSED JURY INSTRUCTIONS

      Sheriff Victor Hill respectfully submits the following proposed jury

instructions. Sheriff Hill also reserves the right to amend or add to these requests

up until the conclusion of the evidence at trial to conform to the evidence as it is

received.
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                                   Introduction

                           COURT’S INSTRUCTIONS
                               TO THE JURY

Members of the Jury:

      It’s my duty to instruct you on the rules of law that you must use in deciding

this case. After I’ve completed these instructions, you will go to the jury room and

begin your discussions – what we call your deliberations.

      You must decide whether the Government has proved the specific facts

necessary to find the Defendant guilty beyond a reasonable doubt.

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.
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      The Duty to Follow Instructions And the Presumption of Innocence

      Your decision must be based only on the evidence presented here. You must

not be influenced in any way by either sympathy for or prejudice against the

Defendant or the Government.

      You must follow the law as I explain it – even if you do not agree with the

law – and you must follow all of my instructions as a whole. You must not single

out or disregard any of the Court's instructions on the law.

      The indictment or formal charge against a defendant isn’t evidence of guilt.

The law presumes every defendant is innocent. The Defendant does not have to

prove his innocence or produce any evidence at all. The Government must prove

guilt beyond a reasonable doubt. If it fails to do so, you must find the Defendant

not guilty.

ANNOTATIONS AND COMMENTS

In re Winship, 397 U.S. 358, 364, 90 S. Ct. 1068, 1073, 25 L. Ed. 2d 368 (1970) (The
due process clause protects all criminal defendants “against conviction except
upon proof beyond a reasonable doubt of every fact necessary to constitute the
crime with which he is charged.”); see also Harvell v. Nagle, 58 F.3d 1541, 1542 (11th
Cir. 1995), reh’g denied, 70 F.3d 1287 (11th Cir. 1995).
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                         Definition of “Reasonable Doubt”

      The Government's burden of proof is heavy, but it doesn’t have to prove a

Defendant's guilt beyond all possible doubt. The Government's proof only has to

exclude any “reasonable doubt” concerning the Defendant's guilt.

      A “reasonable doubt” is a real doubt, based on your reason and common

sense after you’ve carefully and impartially considered all the evidence in the case.

      “Proof beyond a reasonable doubt” is proof so convincing that you would

be willing to rely and act on it without hesitation in the most important of your

own affairs. If you are convinced that the Defendant has been proved guilty

beyond a reasonable doubt, say so. If you are not convinced, say so.

ANNOTATIONS AND COMMENTS

United States v. Daniels, 986 F.2d 451 (11th Cir. 1993), opinion readopted on
rehearing, 5 F.3d 495 (11th Cir. 1993), cert. denied, 511 U.S. 1054, 114 S. Ct. 1615, 128
L. Ed. 2d 342 (1994) approves this definition and instruction concerning reasonable
doubt; see also United States v. Morris, 647 F.2d 568 (5th Cir. 1981); Victor v.
Nebraska, 511 U.S. 1, 114 S. Ct. 1239, 127 L. Ed. 2d 583 (1994) (discussing
“reasonable doubt” definition and instruction).
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              Consideration of Direct and Circumstantial Evidence;
                Argument of Counsel; Comments by the Court

      As I said before, you must consider only the evidence that I have admitted

in the case. Evidence includes the testimony of witnesses and the exhibits

admitted. But, anything the lawyers say is not evidence and isn’t binding on you.

      You shouldn’t assume from anything I’ve said that I have any opinion about

any factual issue in this case. Except for my instructions to you on the law, you

should disregard anything I may have said during the trial in arriving at your own

decision about the facts.

      Your own recollection and interpretation of the evidence is what matters.

      In considering the evidence you may use reasoning and common sense to

make deductions and reach conclusions. You shouldn’t be concerned about

whether the evidence is direct or circumstantial.

      “Direct evidence” is the testimony of a person who asserts that he or she has

actual knowledge of a fact, such as an eyewitness.

      “Circumstantial evidence” is proof of a chain of facts and circumstances that

tend to prove or disprove a fact. There’s no legal difference in the weight you may

give to either direct or circumstantial evidence.

ANNOTATIONS AND COMMENTS

United States v. Clark, 506 F.2d 416 (5th Cir. 1975), cert. denied, 421 U.S. 967, 95 S. Ct.
1957, 44 L. Ed. 2d 454 (1975) approves the substance of this instruction concerning
the lack of distinction between direct and circumstantial evidence; see also United
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States v. Barnette, 800 F.2d 1558, 1566 (11th Cir. 1986), reh’g denied, 807 F.2d 999 (11th
Cir. 1986), cert. denied, 480 U.S. 935, 107 S. Ct. 1578, 94 L. Ed. 2d 769 (1987) (noting
that the “test for evaluating circumstantial evidence is the same as in evaluating
direct evidence”) (citing United States v. Henderson, 693 F.2d 1028, 1030 (11th Cir.
1982)).

United States v. Hope, 714 F.2d 1084, 1087 (11th Cir. 1983) (“A trial judge may
comment upon the evidence as long as he instructs the jury that it is the sole judge
of the facts and that it is not bound by his comments and as long as the comments
are not so highly prejudicial that an instruction to that effect cannot cure the
error.”) (citing United States v. Buchanan, 585 F.2d 100, 102 (5th Cir. 1978)). See also
United States v. Jenkins, 901 F.2d 1075 (11th Cir. 1990).

United States v. Granville, 716 F.2d 819, 822 (11th Cir. 1983) notes that the jury was
correctly instructed that the arguments of counsel should not be considered as
evidence (citing United States v. Phillips, 664 F.2d 971, 1031 (5th Cir. 1981)); see also
United States v. Siegel, 587 F.2d 721, 727 (5th Cir. 1979).

For an alternative description of evidence, see Preliminary Instruction, “what is
evidence.”
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                            Credibility of Witnesses

      When I say you must consider all the evidence, I don’t mean that you must

accept all the evidence as true or accurate. You should decide whether you believe

what each witness had to say, and how important that testimony was. In making

that decision you may believe or disbelieve any witness, in whole or in part. The

number of witnesses testifying concerning a particular point doesn’t necessarily

matter.

      To decide whether you believe any witness I suggest that you ask yourself

a few questions:

      • Did the witness impress you as one who was telling the truth?

      • Did the witness have any particular reason not to tell the truth?

      • Did the witness have a personal interest in the outcome of the
        case?

      • Did the witness seem to have a good memory?

      • Did the witness have the opportunity and ability to accurately
        observe the things he or she testified about?

      • Did the witness appear to understand the questions clearly and
        answer them directly?

   • Did the witness's testimony differ from other testimony or other
     evidence?
ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.
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                     Impeachment of Witnesses Because of
                  Inconsistent Statements or Felony Conviction

      You should also ask yourself whether there was evidence that a witness

testified falsely about an important fact. And ask whether there was evidence that

at some other time a witness said or did something, or didn’t say or do something,

that was different from the testimony the witness gave during this trial.

      To decide whether you believe a witness, you may consider the fact that the

witness has been convicted of a felony or a crime involving dishonesty or a false

statement.

      But keep in mind that a simple mistake doesn’t mean a witness wasn’t

telling the truth as he or she remembers it. People naturally tend to forget some

things or remember them inaccurately. So, if a witness misstated something, you

must decide whether it was because of an innocent lapse in memory or an

intentional deception. The significance of your decision may depend on whether

the misstatement is about an important fact or about an unimportant detail.

ANNOTATIONS AND COMMENTS

See United States v. Solomon, 856 F.2d 1572, 1578 (11th Cir. 1988), reh’g denied, 863
F.2d 890 (1988), cert. denied, 489 U.S. 1070, 109 S. Ct. 1352, 103 L. Ed. 2d 820 (1989).
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                                    Expert Witness

      When scientific, technical or other specialized knowledge might be helpful,

a person who has special training or experience in that field is allowed to state an

opinion about the matter.

      But that doesn’t mean you must accept the witness’s opinion. As with any

other witness’s testimony, you must decide for yourself whether to rely upon the

opinion.

ANNOTATIONS AND COMMENTS

United States v. Johnson, 575 F.2d 1347, 1361 (5th Cir. 1978), cert. denied, 440 U.S. 907,
99 S. Ct. 1214, 59 L. Ed. 2d 454 (1979).
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                On or About; Knowingly; Willfully – Generally

      You’ll see that the indictment charges that a crime was committed “on or

about” a certain date. The Government doesn’t have to prove that the crime

occurred on an exact date. The Government only has to prove beyond a reasonable

doubt that the crime was committed on a date reasonably close to the date alleged.

      The word “knowingly” means that an act was done voluntarily and

intentionally and not because of a mistake or by accident.

      The word “willfully” means that the act was committed voluntarily and

purposely, with the intent to do something the law forbids; that is, with the bad

purpose to disobey or disregard the law. While a person must have acted with the

intent to do something the law forbids before you can find that the person acted

“willfully,” the person need not be aware of the specific law or rule that his

conduct may be violating.

ANNOTATIONS AND COMMENTS

The Definition of willfulness in this instruction can be used in most cases where
willfulness is an element. For crimes requiring a particularized knowledge of the
law being violated, such as tax and currency-structuring cases, use 9.1B’s
definition of willfulness.

The committee in its most recent revisions to the pattern instructions has changed
the approach to how “willfully” should be charged in the substantive offenses
which include it as an essential element of the offense. The previous editions of the
pattern instructions included the following definition that historically has been
used in most cases:
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      The word “willfully,” as that term has been used from time to time in
      these instructions, means that the act was committed voluntarily and
      purposely, with the specific intent to do something the law forbids;
      that is to say, with bad purpose either to disobey or disregard the law.

Although this definition has been useful as a general definition that encompasses
many different aspects of the legal concept of “willfulness” in a concise and
straightforward manner, the Committee has concluded, along with every other
Circuit Pattern Instruction Committee that has considered the issue, that the
definition is not accurate in every situation. A review of the case law reveals how
the courts have struggled with the meaning of “willfulness” as a mens rea
requirement for substantive criminal offenses. See Bryan v. United States, 524. U.S.
184, 189-92, 114 S. Ct. 1939, 1944-45 (1998) (“The word ‘willfully’ is sometimes said
to be ‘a word of many meanings’ whose construction is often dependent on the
context in which it appears.” (citing Spies v. United States, 317 U.S. 492, 497, 63 S.
Ct. 364, 367 (1943))); see also Ratzlaf v. United States, 510 U.S. 135, 140-41, 114 S. Ct.
655, 659 (1994); United States v. Phillips, 19 F.3d 1565, 1576-84 (11th Cir. 1994) (noting
the difficulty in defining “willfully” and discussing the term in various contexts),
amended to correct clerical errors, 59 F.3d 1095 (11th Cir. 1995); United States v.
Granda, 565 F.2d 922, 924 (5th Cir. 1978) (noting, inter alia, that “willfully” has defied
any consistent interpretation by the courts”); see generally United States v. Bailey,
444 U.S. 394, 403, 100 S. Ct. 624, 631 (1980) (“Few areas of criminal law pose more
difficulty that the proper definition of the mens rea requirement for any particular
crime.”).

Based on the case law, the Committee has concluded that the criminal offenses that
expressly include “willfulness” as an essential element can be divided into two
broad categories. For the first category (Instruction 9.1A, which encompasses most
offenses) “willfully” is defined to require that the offense be committed
voluntarily and purposely with the intent to do something unlawful. However,
the person need not be aware of the specific law or rule that his or her conduct
may be violating. This definition is narrower than the traditional definition that
has been used in our pattern charges in the past, but the Committee believes that
this narrower definition is required under the law. See, e.g. Bryan v. United States,
524 U.S. 184, 118 S. Ct. 1939 (1998) (holding that the term “willfully” in 18 U.S.C.
§§ 922(a)(1)(A) and 924(a)(1)(D) requires proof that the defendant knew that his
conduct was generally unlawful, but does not require that the defendant knew of
the specific licensing requirement that he was violating).
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The second category of criminal offenses that have “willfulness” as an essential
element have a heightened mens rea requirement. For this limited class of offenses,
the Government must prove more than the defendant knew that his conduct was
done with a bad purpose to disobey the law in general. The Government must
prove that the defendant had an intent to violate a known legal duty, that is with
the specific intent to do something the law forbids. For these offenses, the
Committee recommends that the definition of “willfully” in Instruction 9.1B be
given to the jury. These offenses include currency structuring statutes and certain
tax laws, which tend to involve “highly technical statutes that present the danger
of ensnaring individuals engaged in apparently innocent conduct.” Bryan, 118 S.
Ct. at 1946 – 47. For example, see Ratzlaf v. United States, 114 S. Ct. 655 (1994)
(holding that with respect to 31 U.S.C. § 5322(a) and the monetary transaction
provisions that it controls, the Government must prove that the defendant acted
willfully, i.e., with specific knowledge that the structuring of currency transactions
in which he was engaged was unlawful); see also Cheek v. United States, 111 S. Ct.
604, 609-10 (1991) (explaining that due to the complexity of tax laws, there is an
exception to the general rule that “ignorance of the law or a mistake of law is no
defense to criminal prosecution,” and “[t]he term ‘willfully’ [as used in certain
federal criminal tax offenses] connot[es] a ‘voluntary, intentional violation of a
known legal duty’” (citing United States v. Pomponio, 429 U.S. 10, 12, 97 S. Ct. 22, 23
(1976) and United States v. Bishop, 412, U.S. 346, 360-61, 93 S. Ct. 2008, 2017 (1973))).
In Cheek, the Supreme Court found error in the trial court’s instruction to the jury
that in order for the defendant’s belief that he was not violating the law to be a
defense, his good-faith belief must have been objectively reasonable. The Court
further explained, however, that “a defendant’s views about the validity of the tax
statutes are irrelevant to the issue of willfulness and need not be heard by the jury,
and, if they are, an instruction to disregard them would be proper.” Cheek, 498 U.S.
at 206, 111 S. Ct. at 613.

The Committee observes that the required mental state may be different even for
different elements of the same crime. This possibility should be considered when
determining what definition of mens rea should be charged. See Liparota v. United
States, 471 U.S. 419, 423, 105 S. Ct. 2084, 2087 n.5 (1985).

Note: If the Defendant raises a good faith defense, it may be appropriate to give
Special Instruction 9 [Good Faith Defense to Willfulness (as under the Internal
Revenue Code)], Special Instruction 18 [Good Faith Reliance Upon Advice of
Counsel].
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                               Caution: Punishment
                       (Single Defendant, Multiple Counts)

         Each count of the indictment charges a separate crime. You must consider

each crime and the evidence relating to it separately. If you find the Defendant

guilty or not guilty of one crime, that must not affect your verdict for any other

crime.

         I caution you that the Defendant is on trial only for the specific crimes

charged in the indictment. You’re here to determine from the evidence in this case

whether the Defendant is guilty or not guilty of those specific crimes.

         You must never consider punishment in any way to decide whether the

Defendant is guilty. If you find the Defendant guilty, the punishment is for the

Judge alone to decide later.

ANNOTATIONS AND COMMENTS

There may be cases in which the last sentence of the first paragraph of this
instruction is inappropriate and should be deleted. This may occur, for example,
in prosecutions under 18 U.S.C. § 1962 (RICO offenses) or 21 U.S.C. § 848
(Continuing Criminal Enterprise offenses) where the indictment is structured so
that a conviction of one count or counts (sometimes called “predicate offenses”) is
necessary to a conviction of another count or counts.
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                         Lesser Included Offense (Single)

      In some cases a defendant is charged with breaking a law that actually

covers two separate crimes.

      A “lesser included offense” is a crime that isn’t as serious as the other crime

a defendant is charged with.

      If you find the Defendant not guilty of the crime charged in Count number

_____, you must determine whether the Defendant is guilty of the lesser included

offense.

      Proof of the lesser included offense requires proof beyond a reasonable

doubt of the facts necessary to prove the crime charged in Count number _____,

except _____ [list elements not required for the lesser included offense].

ANNOTATIONS AND COMMENTS

See United States v. Alvarez, 755 F.2d 830 (11th Cir. 1985), cert. denied, 474 U.S. 905,
106 S. Ct. 274, 88 L. Ed. 2d 235 (1985) and cert. denied, 482 U.S. 908, 107 S. Ct. 2489,
96 L. Ed. 2d 380 (1987).

The Committee recognizes - - and cautions - - that sentence enhancing factors
subject to the principle of Apprendi are not necessarily “elements” creating
separate offenses for purposes of analysis in a variety of contexts. See United States
v. Sanchez, 269 F.3d 1250, 1277 n.51 (11th Cir. 2001) (en banc), cert. denied, 535 U.S.
942, 122 S. Ct. 1327, 152 L. Ed. 2d 234 (2002). Even so, the lesser included offense
model is an appropriate and convenient procedural mechanism for purposes of
submitting sentence enhancers to a jury when required by the principle of
Apprendi.

The following is one form of verdict that may be used in cases in which the offense
charged in the indictment embraces a lesser included offense or offenses in the
traditional sense, or involves sentencing enhancers subject to Apprendi.
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Alternatively, especially in drug cases involving multiple defendants and/or
multiple forms of controlled substances, it may be preferable to use a form of
special verdict for each Defendant (preceded by appropriate instructions
concerning the reasons for, and the use of, such verdict forms). See infra, Offense
Instructions 85 and 87.

                                     Verdict

   1.We, the Jury, find the Defendant [name of Defendant] _____ of the offense
charged in Count One of the indictment.

      [Note: Proceed to the remainder of the verdict form only if you find
             the Defendant not guilty of the offense as charged.]

   2.We, the Jury, having found the Defendant [name of Defendant] not guilty of
the offense as charged in Count One of the indictment, now find the Defendant
_____ of the [first] lesser included offense in Count One of [give generic
description of lesser included offense, i.e., conspiring to distribute less than 50
grams but not less than 5 grams of cocaine base].

      So Say We All.


Date: ________________                             __________________________
                                                           Foreperson
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                                  Duty to Deliberate

      Your verdict, whether guilty or not guilty, must be unanimous – in other

words, you must all agree. Your deliberations are secret, and you’ll never have to

explain your verdict to anyone.

      Each of you must decide the case for yourself, but only after fully

considering the evidence with the other jurors. So you must discuss the case with

one another and try to reach an agreement. While you’re discussing the case, don’t

hesitate to reexamine your own opinion and change your mind if you become

convinced that you were wrong. But don’t give up your honest beliefs just because

others think differently or because you simply want to get the case over with.

      Remember that, in a very real way, you’re judges – judges of the facts. Your

only interest is to seek the truth from the evidence in the case.

ANNOTATIONS AND COMMENTS

See United States v. Brokemond, 959 F.2d 206, 209 (11th Cir. 1992). See also United States
v. Cook, 586 F.2d 572 (5th Cir. 1978), reh’g denied, 589 F.2d 1114 (1979), cert. denied,
442 U.S. 909, 99 S. Ct. 2821, 61 L. Ed. 2d 274 (1979); United States v. Dunbar, 590 F.2d
1340 (5th Cir. 1979).
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                                        Verdict

      When you get to the jury room, choose one of your members to act as

foreperson. The foreperson will direct your deliberations and will speak for you

in court.

      A verdict form has been prepared for your convenience.

                                   [Explain verdict]

      Take the verdict form with you to the jury room. When you’ve all agreed on

the verdict, your foreperson must fill in the form, sign it, date it, and carry it. Then

you’ll return it to the courtroom.

      If you wish to communicate with me at any time, please write down your

message or question and give it to the marshal. The marshal will bring it to me and

I’ll respond as promptly as possible – either in writing or by talking to you in the

courtroom. But I caution you not to tell me how many jurors have voted one way

or the other at that time.

ANNOTATIONS AND COMMENTS

United States v. Norton, 867 F.2d 1354, 1365-66 (11th Cir. 1989), cert. denied, 491 U.S.
907, 109 S. Ct. 3192, 105 L. Ed. 2d 701 (1989) and 493 U.S. 871, 110 S. Ct. 200, 107 L.
Ed. 2d 154 (1989) notes that the Court should not inquire about, or disclose,
numerical division of the jury during deliberations but states that “[r]eversal may
not be necessary even where the trial judge undertakes the inquiry and thereafter
follows it with an Allen charge, absent a showing that either incident or a
combination of the two was inherently coercive.” See United States v. Brokemond,
959 F.2d 206, 209 (11th Cir. 1992). See also United States v. Cook, 586 F.2d 572 (5th Cir.
1978), reh’g denied, 589 F.2d 1114 (1979), cert. denied, 442 U.S. 909, 99 S. Ct. 2821, 61
L. Ed. 2d 274 (1979).
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                        Good-Faith Defense to Willfulness

      Good-Faith is a complete defense to the charges in the indictment since

good-faith on the part of the Defendant is inconsistent with willfulness, and

willfulness is an essential part of the charges. The burden of proof is not on the

Defendant to prove good-faith intent because the Defendant does not need to

prove anything. The Government must establish beyond a reasonable doubt that

the Defendant acted willfully as charged.

      Intent and motive must not be confused. “Motive” is what prompts a person

to act. It is why the person acts.

      “Intent” refers to the state of mind with which the act is done.

      If you find beyond a reasonable doubt that the Defendant specifically

intended to do something that is against the law and voluntarily committed the

acts that make up the crime, then the element of “willfulness” is satisfied, even if

the Defendant believed that violating the law was required or that ultimate good

would result.

ANNOTATIONS AND COMMENTS

This instruction has been updated and now more closely resembles the language
of other good faith defenses.

See United States v. Anderson, 872 F.2d 1508, 1517-18 (11th Cir. 1989), cert. denied, 493
U.S. 1004 (1989). However, in United States v. Paradies, 98 F.3d 1266 (11th Cir. 1996),
cert. denied, 521 U.S. 1106 and 522 U.S. 1014 (1997), the Eleventh Circuit noted that
although the jury instructions given in the case were legally sufficient as a whole,
a portion of the former Special Instruction 9 “might potentially be deemed
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confusing.” Id. at 1285. The updated instruction eliminates the confusion. It may
be given when appropriate as a supplement to Basic Instruction 9.1B.
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                                 Character Evidence


      Evidence of a defendant’s character traits may create a reasonable doubt.

      You should consider testimony that a defendant is an honest and law-

abiding citizen along with all the other evidence to decide whether the

Government has proved beyond a reasonable doubt that the Defendant committed

the offense.

ANNOTATIONS AND COMMENTS

   Rule 404. [Fed. R. Evid.] Character Evidence; Crimes or Other Acts

       (a) Character Evidence.
        (1) Prohibited Uses. Evidence of a person’s character or character
      trait is not admissible to prove that on a particular occasion the
      person acted in accordance with the character or trait.
        (2) Exceptions for a Defendant or Victim in a Criminal Case. The
      following exceptions apply in a criminal case:
            (A) a defendant may offer evidence of the defendant’s
            pertinent trait,   and if the evidence is admitted, the
            prosecutor may offer evidence to rebut it;

See United States v. Broadwell, 870 F.2d 594, 609 (11th Cir. 1989), cert. denied, 493 U.S.
840, 110 S. Ct. 125, 107 L. Ed. 2d 85 (1989).

United States v. Darland, 626 F.2d 1235 (5th Cir. 1980) held that it can be plain error
to refuse this instruction when the Defendant offers evidence of good character;
and, further, the admission of such evidence may not be conditioned on the
Defendant testifying as a witness. Character evidence may be excluded, however,
when the proffered witness has an inadequate basis for expressing an opinion as
to the Defendant’s character. United States v. Gil, 204 F.3d 1347 (11th Cir. 2000). A
distinction must be drawn between evidence of a pertinent trait of the Defendant’s
character, offered under Fed. R. Evid. 404(a)(2), and evidence of the character of a
witness for truthfulness (including the Defendant as a witness) offered under Fed.
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R. Evid. 608(a). This instruction should be given when the evidence has been
admitted under Rule 404. Basic Instruction 6.7 should be given when evidence has
been admitted under Rule 608.

In either case - - whether character evidence is admitted under Rule 404 or Rule
608 - - Rule 405(a) provides that “it may be proved by testimony about the person’s
reputation or by testimony in the form of an opinion.
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                         Deprivation of Civil Rights
                                18 U.S.C. § 242

      It’s a Federal crime for anyone acting under color of state law to willfully

deprive someone else of his or her rights secured by the Constitution or laws of

the United States.

      The Defendant can be found guilty of this crime only if all the following

facts are proved beyond a reasonable doubt:

      (1) First, the Defendant deprived the person of a right secured by the
          Constitution or laws of the United States by committing the acts
          charged in the indictment;

      (2) Second, the Defendant acted or claimed to act under color of state
          law; and

      (3) the Defendant willfully, that is, the defendant committed such act or
           acts with a purpose to disobey or disregard the law, specifically
           intending to deprive the person of that right.

      An act “under color of state law” includes any act done by an official under

a state law or regulation. It also covers acts done by an official under the

ordinances and regulations of any county or municipality of the state. It even

includes acts performed under a state or local custom.

      To act “under color of state law” means to exceed or abuse lawful authority

while claiming or pretending to perform an official duty. An unlawful act under

color of state law occurs when a person has power only because that person is an

official, and that person does acts that are a misuse or abuse of that power.
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      The indictment charges Victor Hill with depriving the alleged victims of the

due process right to be free from excessive force amounting to punishment. You

are instructed that this right is one secured by the Constitution and laws of the

United States.

      Because these individuals had been arrested and were being held as

detainees, they were lawfully deprived of many of the liberties with due process

of law. Jail officials may use force in a good faith effort to preserve internal order

and discipline and to maintain institutional security. Not every use of force, even

if it may later seem unnecessary in the peace of a courtroom, deprives a detainee

of his constitutional rights. Law enforcement officers are to use force against a

detainee as part of a good-faith effort to further legitimate correctional purposes,

such as restoring order, preventing escape, or defending themselves and others.

What violates the Constitution is force used against a detainee for no legitimate

government purpose, such as force used for the purpose of retaliation, deterrence,

or the malicious infliction of pain.

      To determine whether a particular use of force amounts to a deprivation of

a right secured by the constitution or laws of the United States, the question for

the jury is whether force was objectively unreasonable and furthered no legitimate

nonpunitive government purpose. In making this decision, you must account for

the legitimate interests that stem from the need to manage the jail appropriately
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deferring to the policies and practices that in the judgment of jail officials are

needed to preserve internal order and discipline and to maintain institutional

security. You must also take into account the fact that corrections officials are often

forced to make split-second judgments—in circumstances that are tense,

uncertain, and rapidly evolving—about the amount of force that is necessary in a

particular situation.

      Among the factors for you to consider that might bear whether force was

applied in a good-faith are: the need for the application of force, the relationship

between the need for the use of force and the amount of force used; the extent of

the injuries to the inmate; the extent of the threat to the safety of staff and inmates,

as reasonably perceived by the responsible officials on the basis of facts known to

them; and any effort made by the officer to temper or limit the amount of force.

You must also give a wide range of deference to prison officials acting to preserve

discipline and security.

      To determine whether the alleged victim was deprived of liberty without

due process of law, you must first determine from the evidence whether the

Defendant did any of the acts charged.

      If so, then you must determine whether the Defendant acted within the

bounds of the Defendant's lawful authority.
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      If you find that the Defendant acted within the limits of lawful authority

under state law, the Defendant did not deprive the alleged victim of any liberty

without due process of law.

      But if you find that the Defendant exceeded the limits of lawful authority

under state law, you may find that the Defendant deprived the alleged victim of

liberty without due process of law and then decide whether the Defendant acted

willfully.

AUTHORITY

Eleventh Circuit Pattern Jury Charge, Criminal Cases, Instruction No. O9 (2022)
(modified).

United States v. Lanier, 520 U.S. 259 (1997);

Screws v. United States, 325 U.S. 91 (1945);

Crocker v. Beatty, 995 F.3d 1232 (11th Cir. 2021);

Kingsley v. Hendrickson, 576 U.S. 389 (2015);

Graham v. Connor, 490 U.S. 386, 396-397 (1989) (“With respect to a claim of excessive
force, the same standard of reasonableness at the moment applies: ‘Not every push
or shove, even if it may later seem unnecessary in the peace of a judge's chambers,’
Johnson v. Glick, 481 F.2d, at 1033, violates the Fourth Amendment. The calculus of
reasonableness must embody allowance for the fact that police officers are often
forced to make split-second judgments—in circumstances that are tense,
uncertain, and rapidly evolving—about the amount of force that is necessary in a
particular situation.”);

Cockrell v. Sparks, 510 F.3d 1307, 1311 (11th Cir. 2007) (“we must also give a wide
range of deference to prison officials acting to preserve discipline and security”);
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Bennett v. Parker, 898 F.2d 1530, 1533 (11th Cir. 1990) (favorably quoting Johnson v.
Glick in context of excessive force case in prison).
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                    Limiting Instruction of Policy Statements

      During the trial you have heard testimony about the use of force policy

adopted by the Clayton County Sheriff’s Office. The policy has been admitted

into evidence. The Defendant is not charged in this case with violating any policy

of the Clayton County Sheriff’s Office. Instead, he is charged with the offense of

deprivation of a constitutional right. Even if you believe that Mr. Hill acted in

contravention of one or more of the policies, that alone would not make him

guilty of deprivation of a constitutional rights. The issue is whether or not the

government has proven each of the elements of the offense beyond a reasonable

doubt.
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                              Explanatory Instruction

                   Transcript of Tape-Recorded Conversation

Members of the Jury: Exhibit _____ has been identified as a typewritten transcript

of the oral conversation heard on the tape recording received in evidence as

Exhibit _____. The transcript also purports to identify the speakers engaged in the

conversation.

      I’ve admitted the transcript for the limited and secondary purpose of

helping you follow the content of the conversation as you listen to the tape

recording [, particularly those portions spoken in Spanish,] [and also to help you

identify the speakers.]

      But you are specifically instructed that whether the transcript correctly

reflects the content of the conversation [or the identity of the speakers] is entirely

for you to decide based on [your own evaluation of the testimony you have heard

about the preparation of the transcript, and from] your own examination of the

transcript in relation to hearing the tape recording itself as the primary evidence

of its own contents.

      If you determine that the transcript is in any respect incorrect or unreliable,

you should disregard it to that extent.

ANNOTATIONS AND COMMENTS

United States v. Nixon, 918 F.2d 895 (11th Cir. 1990), held that transcripts are
admissible in evidence, including transcripts that purport to identify the speakers,
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and specifically approved the text of this instruction as given at the time the
transcripts were offered and received.
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 This 6th day of October, 2022.

                                  Respectfully submitted,



                                  By:/s/    Marissa Goldberg



                                  Drew Findling
                                      Ga. Bar No. 260426
                                  Marissa Goldberg
                                      Ga. Bar No. 672798
                                  The Findling Firm
                                  3490 Piedmont Road NE, Suite 600
                                  Atlanta, GA 30305
                                  Telephone (404) 460-4500
                                  Email: drew@findlinglawfirm.com
                                         marissa@findlinglawfirm.com


                                  Lynsey M. Barron
                                      Ga. Bar No. 661005
                                  Barron Law LLC
                                  3104 Briarcliff Rd.
                                  P.O. Box 29964
                                  Atlanta, GA 30359
                                  Telephone (404) 276-3261
                                  Email: lynsey@barron.law

                                  Attorneys for Sheriff Victor Hill
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                          CERTIFICATE OF SERVICE

      I hereby certify that on the below date I electronically filed the foregoing

Proposed Jury Instructions with the Clerk of Court using CM/ECF system which

will automatically send email notification of such filing to the to the following

attorneys of record:


                   Brent Gray, AUSA
                   Bret Hobson, AUSA
                   U.S. Attorney’s Office
                   600 Courthouse
                   75 Ted Turner Drive SW
                   Atlanta, GA 30303


      This 6th day of October, 2022.

                                        /s/ Marissa Goldberg
                                        By: Marissa Goldberg

                                        Attorney for Sheriff Victor Hill
